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                EXHIBIT 37
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                              can fulfill this duty. See 8 U.S.C. 1373(c). Maintaining accurate voter registra-
                              tion lists is a fundamental requirement in protecting voters from having
                              their ballots voided or diluted by fraudulent votes.
                              Federal law, 52 U.S.C. 30121, prohibits foreign nationals from participating
                              in Federal, State, or local elections by making any contributions or expendi-
                              tures. But foreign nationals and non-governmental organizations have taken
                              advantage of loopholes in the law’s interpretation, spending millions of
                              dollars through conduit contributions and ballot-initiative-related expendi-
                              tures. This type of foreign interference in our election process undermines
                              the franchise and the right of American citizens to govern their Republic.
                              Above all, elections must be honest and worthy of the public trust. That
                              requires voting methods that produce a voter-verifiable paper record allowing
                              voters to efficiently check their votes to protect against fraud or mistake.
                              Election-integrity standards must be modified accordingly.
                              It is the policy of my Administration to enforce Federal law and to protect
                              the integrity of our election process.
                              Sec. 2. Enforcing the Citizenship Requirement for Federal Elections. To
                              enforce the Federal prohibition on foreign nationals voting in Federal elec-
                              tions:
                                 (a)(i) Within 30 days of the date of this order, the Election Assistance
                              Commission shall take appropriate action to require, in its national mail
                              voter registration form issued under 52 U.S.C. 20508:
                                    (A) documentary proof of United States citizenship, consistent with
                                 52 U.S.C. 20508(b)(3); and
                                  (B) a State or local official to record on the form the type of document
                                that the applicant presented as documentary proof of United States citizen-
                                ship, including the date of the document’s issuance, the date of the docu-
                                ment’s expiration (if any), the office that issued the document, and any
                                unique identification number associated with the document as required
                                by the criteria in 52 U.S.C. 21083(a)(5)(A), while taking appropriate meas-
                                ures to ensure information security.
                                (ii) For purposes of subsection (a) of this section, ‘‘documentary proof
                                of United States citizenship’’ shall include a copy of:
                                  (A) a United States passport;
                                   (B) an identification document compliant with the requirements of the
                                REAL ID Act of 2005 (Pub. L. 109–13, Div. B) that indicates the applicant
                                is a citizen of the United States;
                                   (C) an official military identification card that indicates the applicant
                                is a citizen of the United States; or
                                   (D) a valid Federal or State government-issued photo identification if
                                such identification indicates that the applicant is a United States citizen
                                or if such identification is otherwise accompanied by proof of United
                                States citizenship.
                                (b) To identify unqualified voters registered in the States:
                                (i) the Secretary of Homeland Security shall, consistent with applicable
                                law, ensure that State and local officials have, without the requirement
                                of the payment of a fee, access to appropriate systems for verifying the
                                citizenship or immigration status of individuals registering to vote or
                                who are already registered;
                                (ii) the Secretary of State shall take all lawful and appropriate action
                                to make available information from relevant databases to State and local
                                election officials engaged in verifying the citizenship of individuals reg-
                                istering to vote or who are already registered; and
                                (iii) the Department of Homeland Security, in coordination with the DOGE
                                Administrator, shall review each State’s publicly available voter registration
                                list and available records concerning voter list maintenance activities as
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                        required by 52 U.S.C. 20507, alongside Federal immigration databases
                        and State records requested, including through subpoena where necessary
                        and authorized by law, for consistency with Federal requirements.
                        (c) Within 90 days of the date of this order, the Secretary of Homeland
                      Security shall, consistent with applicable law, provide to the Attorney Gen-
                      eral complete information on all foreign nationals who have indicated on
                      any immigration form that they have registered or voted in a Federal, State,
                      or local election, and shall also take all appropriate action to submit to
                      relevant State or local election officials such information.
                        (d) The head of each Federal voter registration executive department or
                      agency (agency) under the National Voter Registration Act, 52 U.S.C. 20506(a),
                      shall assess citizenship prior to providing a Federal voter registration form
                      to enrollees of public assistance programs.
                        (e) The Attorney General shall prioritize enforcement of 18 U.S.C. 611
                      and 1015(f) and similar laws that restrict non-citizens from registering to
                      vote or voting, including through use of:
                        (i) databases or information maintained by the Department of Homeland
                        Security;
                        (ii) State-issued identification records and driver license databases; and
                        (iii) similar records relating to citizenship.
                        (f) The Attorney General shall, consistent with applicable laws, coordinate
                      with State attorneys general to assist with State-level review and prosecution
                      of aliens unlawfully registered to vote or casting votes.
                      Sec. 3. Providing Other Assistance to States Verifying Eligibility. To assist
                      States in determining whether individuals are eligible to register and vote:
                        (a) The Commissioner of Social Security shall take all appropriate action
                      to make available the Social Security Number Verification Service, the Death
                      Master File, and any other Federal databases containing relevant information
                      to all State and local election officials engaged in verifying the eligibility
                      of individuals registering to vote or who are already registered. In determining
                      and taking such action, the Commissioner of Social Security shall ensure
                      compliance with applicable privacy and data security laws and regulations.
                        (b) The Attorney General shall ensure compliance with the requirements
                      of 52 U.S.C. 20507(g).
                        (c) The Attorney General shall take appropriate action with respect to
                      States that fail to comply with the list maintenance requirements of the
                      National Voter Registration Act and the Help America Vote Act contained
                      in 52 U.S.C. 20507 and 52 U.S.C. 21083.
                         (d) The Secretary of Defense shall update the Federal Post Card Applica-
                      tion, pursuant to the Uniformed and Overseas Citizens Absentee Voting
                      Act, 52 U.S.C. 20301, to require:
                         (i) documentary proof of United States citizenship, as defined by section
                         2(a)(ii) of this order; and
                        (ii) proof of eligibility to vote in elections in the State in which the
                        voter is attempting to vote.
                      Sec. 4. Improving the Election Assistance Commission. (a) The Election
                      Assistance Commission shall, pursuant to 52 U.S.C. 21003(b)(3) and 21142(c)
                      and consistent with applicable law, take all appropriate action to cease
                      providing Federal funds to States that do not comply with the Federal
                      laws set forth in 52 U.S.C. 21145, including the requirement in 52 U.S.C.
                      20505(a)(1) that States accept and use the national mail voter registration
                      form issued pursuant to 52 U.S.C. 20508(a)(1), including any requirement
                      for documentary proof of United States citizenship adopted pursuant to
                      section 2(a)(ii) of this order.
                        (b)(i) The Election Assistance Commission shall initiate appropriate action
                      to amend the Voluntary Voting System Guidelines 2.0 and issue other appro-
                      priate guidance establishing standards for voting systems to protect election
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                              integrity. The amended guidelines and other guidance shall provide that
                              voting systems should not use a ballot in which a vote is contained within
                              a barcode or quick-response code in the vote counting process except where
                              necessary to accommodate individuals with disabilities, and should provide
                              a voter-verifiable paper record to prevent fraud or mistake.
                                (ii) Within 180 days of the date of this order, the Election Assistance
                                Commission shall take appropriate action to review and, if appropriate,
                                re-certify voting systems under the new standards established under sub-
                                section (b)(i) of this section, and to rescind all previous certifications
                                of voting equipment based on prior standards.
                                (c) Following an audit of Help America Vote Act fund expenditures con-
                              ducted pursuant to 52 U.S.C. 21142, the Election Assistance Commission
                              shall report any discrepancies or issues with an audited State’s certifications
                              of compliance with Federal law to the Department of Justice for appropriate
                              enforcement action.
                                 (d) The Secretary of Homeland Security and the Administrator of the
                              Federal Emergency Management Agency, consistent with applicable law,
                              shall in considering the provision of funding for State or local election
                              offices or administrators through the Homeland Security Grant Programs,
                              6 U.S.C. 603 et seq., heavily prioritize compliance with the Voluntary Voting
                              System Guidelines 2.0 developed by the Election Assistance Commission
                              and completion of testing through the Voting System Test Labs accreditation
                              process.
                              Sec. 5. Prosecuting Election Crimes. To protect the franchise of American
                              citizens and their right to participate in fair and honest elections:
                                 (a) The Attorney General shall take all appropriate action to enter into
                              information-sharing agreements, to the maximum extent possible, with the
                              chief State election official or multi-member agency of each State. These
                              agreements shall aim to provide the Department of Justice with detailed
                              information on all suspected violations of State and Federal election laws
                              discovered by State officials, including information on individuals who:
                                 (i) registered or voted despite being ineligible or who registered multiple
                                 times;
                                (ii) committed election fraud;
                                (iii) provided false information on voter registration or other election
                                forms;
                                (iv) intimidated or threatened voters or election officials; or
                                (v) otherwise engaged in unlawful conduct to interfere in the election
                                process.
                                (b) To the extent that any States are unwilling to enter into such an
                              information sharing agreement or refuse to cooperate in investigations and
                              prosecutions of election crimes, the Attorney General shall:
                                (i) prioritize enforcement of Federal election integrity laws in such States
                                to ensure election integrity given the State’s demonstrated unwillingness
                                to enter into an information-sharing agreement or to cooperate in investiga-
                                tions and prosecutions; and
                                (ii) review for potential withholding of grants and other funds that the
                                Department awards and distributes, in the Department’s discretion, to
                                State and local governments for law enforcement and other purposes,
                                as consistent with applicable law.
                                (c) The Attorney General shall take all appropriate action to align the
                              Department of Justice’s litigation positions with the purpose and policy
                              of this order.
                              Sec. 6. Improving Security of Voting Systems. To improve the security
                              of all voting equipment and systems used to cast ballots, tabulate votes,
                              and report results:
                                (a) The Attorney General and the Secretary of Homeland Security shall
                              take all appropriate actions to the extent permitted by 42 U.S.C. 5195c
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                      and all other applicable law, so long as the Department of Homeland Security
                      maintains the designation of election infrastructure as critical infrastructure,
                      as defined by 42 U.S.C. 5195c(e), to prevent all non-citizens from being
                      involved in the administration of any Federal election, including by accessing
                      election equipment, ballots, or any other relevant materials used in the
                      conduct of any Federal election.
                         (b) The Secretary of Homeland Security shall, in coordination with the
                      Election Assistance Commission and to the maximum extent possible, review
                      and report on the security of all electronic systems used in the voter registra-
                      tion and voting process. The Secretary of Homeland Security, as the head
                      of the designated Sector Risk Management Agency under 6 U.S.C. 652a,
                      in coordination with the Election Assistance Commission, shall assess the
                      security of all such systems to the extent they are connected to, or integrated
                      into, the Internet and report on the risk of such systems being compromised
                      through malicious software and unauthorized intrusions into the system.
                      Sec. 7. Compliance with Federal Law Setting the National Election Day.
                      To achieve full compliance with the Federal laws that set the uniform
                      day for appointing Presidential electors and electing members of Congress:
                         (a) The Attorney General shall take all necessary action to enforce 2
                      U.S.C. 7 and 3 U.S.C. 1 against States that violate these provisions by
                      including absentee or mail-in ballots received after Election Day in the
                      final tabulation of votes for the appointment of Presidential electors and
                      the election of members of the United States Senate and House of Representa-
                      tives.
                         (b) Consistent with 52 U.S.C. 21001(b) and other applicable law, the
                      Election Assistance Commission shall condition any available funding to
                      a State on that State’s compliance with the requirement in 52 U.S.C.
                      21081(a)(6) that each State adopt uniform and nondiscriminatory standards
                      within that State that define what constitutes a vote and what will be
                      counted as a vote, including that, as prescribed in 2 U.S.C. 7 and 3 U.S.C.
                      1, there be a uniform and nondiscriminatory ballot receipt deadline of Elec-
                      tion Day for all methods of voting, excluding ballots cast in accordance
                      with 52 U.S.C. 20301 et seq., after which no additional votes may be cast.
                      Sec. 8. Preventing Foreign Interference and Unlawful Use of Federal Funds.
                      The Attorney General, in consultation with the Secretary of the Treasury,
                      shall prioritize enforcement of 52 U.S.C. 30121 and other appropriate laws
                      to prevent foreign nationals from contributing or donating in United States
                      elections. The Attorney General shall likewise prioritize enforcement of 31
                      U.S.C. 1352, which prohibits lobbying by organizations or entities that have
                      received any Federal funds.
                      Sec. 9. Federal Actions to Address Executive Order 14019. The heads of
                      all agencies, and the Election Assistance Commission, shall cease all agency
                      actions implementing Executive Order 14019 of March 7, 2021 (Promoting
                      Access to Voting), which was revoked by Executive Order 14148 of on
                      January 20, 2025 (Initial Rescissions of Harmful Executive Orders and Ac-
                      tions), and, within 90 days of the date of this order, submit to the President,
                      through the Assistant to the President for Domestic Policy, a report describing
                      compliance with this order.
                      Sec. 10. Severability. If any provision of this order, or the application of
                      any provision to any agency, person, or circumstance, is held to be invalid,
                      the remainder of this order and the application of its provisions to any
                      other agencies, persons, or circumstances shall not be affected thereby.
                      Sec. 11. General Provisions. (a) Nothing in this order shall be construed
                      to impair or otherwise affect:
                        (i) the authority granted by law to an executive department or agency,
                        or the head thereof; or
                        (ii) the functions of the Director of the Office of Management and Budget
                        relating to budgetary, administrative, or legislative proposals.
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                                         (b) This order shall be implemented consistent with applicable law and
                                       subject to the availability of appropriations.
                                         (c) This order is not intended to, and does not, create any right or benefit,
                                       substantive or procedural, enforceable at law or in equity by any party
                                       against the United States, its departments, agencies, or entities, its officers,
                                       employees, or agents, or any other person.




                                       THE WHITE HOUSE,
                                       March 25, 2025.


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